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                           United States District Court
                           Eastern District of Michigan
                                Southern Division

EASY ONLINE SOLUTIONS, LTD. d/b/a
MojoHost, a Michigan corporation,

              Plaintiff,
                                            Case No.
v.                                          District Judge
                                            Magistrate Judge
MAGEMOJO, LLC, a Pennsylvania
limited liability company,                  Jury Trial Demanded
              Defendant.
                     Complaint for Trademark Infringement

      Plaintiff EASY ONLINE SOLUTIONS, LTD. d/b/a MojoHost, for its complaint

against defendant MAGEMOJO, LLC, alleges as follows:

                              Preliminary Statement

      1.     This is an action for infringement of Plaintiff’s federally-registered

service mark MOJOHOST under section 32(1) of the Lanham Act, 15 U.S.C.

§ 1114(1), for unfair competition and false designation of origin under section 43(a)

of the Lanham Act, 15 U.S.C. § 1125(a), and for substantial and related claims of

unfair competition under Michigan statutory and common law, all arising from the

Defendant’s unauthorized use of the mark MOJOHOST in connection with the

marketing, advertising, promotion, offering for sale, and sale of Defendant’s hosting

services.
      2.     Plaintiff seeks injunctive and monetary relief.

                                    Jurisdiction

      3.     The Court has jurisdiction over this action under 15 U.S.C. § 1121, 28
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U.S.C. §§ 1331, 1332(a), and 1338(a) and (b), and in accordance with the principles

of supplemental jurisdiction under 28 U.S.C. § 1367.

       4.      Personal jurisdiction in this district is proper inasmuch as, among other

reasons, Defendant has solicited and conducted business in the state of Michigan

thereby purposefully availing itself of the privilege of acting in the state of Michigan.

Personal jurisdiction is also proper under Michigan’s long-arm statute, Mich. Comp.

Laws § 600.735, because, among other things, Defendant regularly does or solicits
business in the state of Michigan and provides in its terms of service that Michigan

law governs.

                                         Venue

       5.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2), in that a

substantial part of the events or omissions giving rise to the claim occurred in this

district.
                                        Parties

       6.      Plaintiff EASY ONLINE SOLUTIONS, LTD. d/b/a MojoHost is a

corporation that is incorporated in Michigan and has its principal place of business

in Bingham Farms, Michigan. Since 1999, Plaintiff has been providing businesses

and individuals with commerce, hosting, and web site solutions.

       7.      On information and belief, Defendant MAGEMOJO, LLC is a limited

liability company formed under the laws of Pennsylvania and does business in

Pittsburgh, Pennsylvania, with its principal place of business located at 428 Forbes

Avenue, Pittsburgh, Pennsylvania 15219. On information and belief, Defendant was

founded in 2009 for the purpose of hosting Magento® online stores for various
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businesses.

                                        Facts

      A.      Plaintiff and its MOJOHOST Mark

      8.      Plaintiff is a managed webhosting company founded in 1999.

      9.      Plaintiff is the owner of valid and subsisting United States Service Mark

Registration No. 417,7472 on the Principal Register in the United States Patent and

Trademark Office for the service mark MOJOHOST (the “MOJOHOST Mark”) for
services, which has become incontestable within the meaning of section 15 of the

Lanham Act, 15 U.S.C. § 1065. Attached as exhibit 1 is a true copy of the registration

certificate and maintenance records for Plaintiff’s United States Service Mark

Registration No. 417,7472, which was issued by the United States Patent and

Trademark Office on July 24, 2012.

      10.     Plaintiff has used the MOJOHOST Mark in commerce throughout the
United States continuously since April 1, 2004 in connection with the provision,

offering for sale, sale, marketing, advertising, and promotion of website hosting

services and solutions. Attached as exhibit 2 are copies of representative samples of

marketing, advertising, and promotional materials showing Plaintiff’s use of the

MOJOHOST Mark in connection with these website hosting services and solutions.

      11.     As a result of its widespread, continuous, and exclusive use of the

MOJOHOST Mark to identify its website hosting services and solutions and Plaintiff

as their source, Plaintiff owns valid and subsisting federal statutory and common law

rights to the MOJOHOST Mark.

      12.     Plaintiff’s MOJOHOST Mark is distinctive to both the consuming
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public and Plaintiff’s trade.

      13.    Plaintiff has expended substantial time, money, and resources

marketing, advertising, and promoting the website hosting services and solutions

sold under the MOJOHOST Mark including through digital marketing, printing

marketing, tradeshows, seminars, social events, and social media.

      14.    Plaintiff provides and sells the website hosting services and solutions

under the MOJOHOST Mark on the Internet through its website located at
www.mojohost.com and using Internet advertising.

      15.    Plaintiff offers and sells its website hosting services and solutions under

its MOJOHOST Mark to individuals and businesses around the world, including to

individuals and businesses that operate Magento® online stores.

      16.    The website hosting services and solutions Plaintiff offers under the

MOJOHOST Mark are of high quality.
      17.    As a result of Plaintiff’s expenditures and efforts, the MOJOHOST

Mark has come to signify the high quality of the website hosting services and

solutions designated by the MOJOHOST Mark, and acquired incalculable

distinction, reputation, and goodwill belonging exclusively to Plaintiff.

      18.    Plaintiff’s MOJOHOST Mark and the website hosting services and

solutions offered under it have received significant unsolicited coverage in various

media.

      19.    Plaintiff has scrupulously and successfully enforced and protected its

MOJOHOST Mark against past infringements.


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      B.    Defendant’s Unlawful Activities

      20.   On information and belief, Defendant is engaged in the business of

website hosting on the Internet with an emphasis on hosting websites running

Magento® stores.

      21.   Without Plaintiff’s authorization, and on information and belief,

beginning after Plaintiff acquired protectable exclusive rights in its MOJOHOST

Mark, Defendant adopted and began using the mark MAGEMOJO (the “Infringing
MageMojo Mark”) and adopted and began using a mark identical to Plaintiff’s

MOJOHOST Mark (the “Infringing Mojo Host Mark;” together with the Infringing

MageMojo Mark, the “Infringing Marks”) in US commerce.

      22.   The Infringing MageMojo Mark adopted and used by Defendant is

confusingly similar to Plaintiff’s MOJOHOST Mark in that they both use the

inherently distinctive word “Mojo.” The “Mage” part of the Infringing MageMojo
Mark, which is short for Magento®, is merely descriptive of the Magento® hosting

services offered by Defendant.

      23.   The Infringing Mojo Host Mark adopted and used by Defendant is

identical to Plaintiff’s MOJOHOST Mark with the exception that it is two words

instead of one word.

      24.   On information and belief, Defendant has been engaged in the

provision, advertising, promotion, offering for sale, and sale of website hosting

services using the Infringing Marks throughout the United States. Attached as

exhibit 3 are copies of representative screenshots showing Defendants’ use of the

Infringing Marks.
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       25.   On information and belief, the website hosting services Defendant has

provided, marketed, advertised, promoted, offered for sale, and sold under the

Infringing Marks are the same as or confusingly similar to those provided, marketed,

advertised, promoted, offered for sale, and sold under the MOJOHOST Mark by

Plaintiff.

       26.   On information and belief, Defendant has provided, marketed,

advertised, promoted, offered for sale, and sold its website hosting services under
the Infringing Marks through its websites located at www.magemojo.com and

www.mojohostmanager.com just like Plaintiff does through its website located at

www.mojohost.com.

       27.   On information and belief, Defendant has marketed, advertised, and

promoted its website hosting services under the Infringing Marks through the

Internet, including social media just like Plaintiff does.
       28.   On information and belief, Defendant offers and sells its website

hosting services under the Infringing Marks to users of the Magento® open-source

ecommerce platform. Plaintiff offers and sells its website hosting services to anyone,

including users of the Magento® open-source ecommerce platform.

       29.   On September 6, 2018, Plaintiff’s counsel sent a cease and desist letter

to Defendant objecting to Defendant’s use of the Infringing Marks. Attached as

exhibit 4 is a copy of Plaintiff’s counsel’s September 6, 2018 cease and desist letter

to Defendant.

       30.   On November 12, 2018, Defendant’s counsel responded to the cease

and desist letter and argued, among other things, that there is “no risk of confusion”
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because Defendant “exclusively host content in the Magento space” whereas

Plaintiff “hosts primarily adult content.” Nevertheless, Defendant acknowledges in

the letter its unauthorized and willful use of the Infringing Marks, including the

Infringing Mojo Host Mark. Attached as exhibit 5 is a copy of Defendant’s counsel’s

November 12, 2018 response to Plaintiff’s counsel’s cease and desist letter.

      31.    Defendant’s infringing acts as alleged here have caused and are likely

to cause confusion, mistake, and deception among the relevant consuming public as
to the source or origin of the Defendant’s website hosting services and have and are

likely to deceive the relevant consuming public into believing, mistakenly, that

Defendant’s website hosting services originate from, are associated or affiliated

with, or otherwise authorized by Plaintiff.

      32.    On information and belief, Defendant’s acts are willful with the

deliberate intent to trade on the goodwill of Plaintiff’s MOJOHOST Mark, cause
confusion and deception in the marketplace, and divert potential sales of Plaintiff’s

website hosting services to the Defendant.

      33.    Defendant’s acts are causing, and unless restrained, will continue to

cause damage and immediate irreparable harm to Plaintiff and to its valuable

reputation and goodwill with the consuming public for which Plaintiff has no

adequate remedy at law.

                                      Count I
                        Federal Service Mark Infringement
      34.    Plaintiff repeats and realleges paragraphs 1 through 33 of this

complaint, as if fully stated here.

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      35.     Defendant’s unauthorized use in commerce of the Infringing Marks as

alleged in this complaint is likely to deceive consumers as to the origin, source,

sponsorship, or affiliation of Defendant’s services, and is likely to cause consumers

to believe, contrary to fact, that Defendant’s services are sold, authorized, endorsed,

or sponsored by Plaintiff, or that Defendant is in some way affiliated with or

sponsored by Plaintiff. Defendant’s conduct therefore constitutes service mark

infringement in violation of section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).
      36.    On information and belief, Defendant has committed the foregoing acts

of infringement with full knowledge of Plaintiff’s prior rights in the MOJOHOST

Mark and with the willful intent to cause confusion and trade on Plaintiff’s goodwill.

      37.    Defendant’s conduct is causing immediate and irreparable harm and

injury to Plaintiff, and to its goodwill and reputation, and will continue to both

damage Plaintiff and confuse the public unless enjoined by this court. Plaintiff has
no adequate remedy at law.

      38.    Plaintiff is entitled to, among other relief, injunctive relief and an award

of actual damages, Defendant’s profits, enhanced damages and profits, reasonable

attorneys’ fees, and costs of the action under sections 34 and 35 of the Lanham Act,

15 U.S.C. §§ 1116, 1117, together with prejudgment and post-judgment interest.

                                     Count II
                            Federal Unfair Competition
      39.    Plaintiff repeats and realleges paragraphs 1 through 33 of this

complaint, as if fully stated here.

      40.    Defendant’s unauthorized use in commerce of the Infringing Mark as

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alleged in this complaint is likely to deceive consumers as to the origin, source,

sponsorship, or affiliation of Defendant’s services, and is likely to cause consumers

to believe, contrary to fact, that Defendant’s services are sold, authorized, endorsed,

or sponsored by Plaintiff, or that Defendant is in some way affiliated with or

sponsored by Plaintiff.

      41.    Defendant’s unauthorized use in commerce of the Infringing Marks as

alleged in this complaint constitutes use of a false designation of origin and
misleading description and representation of fact.

      42.    On information and belief, Defendant’s conduct as alleged here is

willful and is intended to and is likely to cause confusion, mistake, or deception as

to the affiliation, connection, or association of Defendant with Plaintiff.

      43.    Defendant’s conduct as alleged in this complaint constitutes unfair

competition in violation of section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
      44.    Defendant’s conduct as alleged in this complaint is causing immediate

and irreparable harm and injury to Plaintiff, and to its goodwill and reputation, and

will continue to both damage Plaintiff and confuse the public unless enjoined by this

court. Plaintiff has no adequate remedy at law.

      45.    Plaintiff is entitled to, among other relief, injunctive relief and an award

of actual damages, Defendant’s profits, enhanced damages and profits, reasonable

attorneys’ fees, and costs of the action under sections 34 and 35 of the Lanham Act,

15 U.S.C. §§ 1116, 1117, together with prejudgment and post-judgment interest.




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                                     Count III
                                 Reverse Confusion
      46.    Plaintiff repeats and realleges paragraphs 1 through 33 of this

complaint, as if fully stated here.

      47.    Plaintiff alleges reverse confusion under section 32(1) of the Lanham

Act, 15 U.S.C. § 1114(1), and section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

      48.    Plaintiff is the senior user of the MOJOHOST Mark, which is a valid,

protectable service mark that is federally registered in the United States Patent and

Trademark Office.

      49.    Defendant is the junior user of the MOJOHOST Mark, which it has

used without Plaintiff’s consent, in a manner that is likely to cause confusion among

ordinary purchasers as to the source of the services. On information and belief,

Defendant has advertised the MOJOHOST Mark, and appropriated for itself

goodwill that rightfully should belong to Plaintiff.

      50.    Defendant’s actions are likely to lead the public to conclude,

incorrectly, that Plaintiff’s services originate from Defendant, which will damage
both Plaintiff and the public.

      51.    Defendant’s unauthorized use of the MOJOHOST Mark in interstate

commerce constitutes reverse confusion and is likely to cause consumer confusion,
mistake, or deception.

      52.    As a direct and proximate result of Defendant’s reverse confusion,

Plaintiff has suffered and will continue to suffer loss of income, profits, and good
will and Defendant has and will continue to unfairly acquire income, profits, and

goodwill.
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      53.      Defendant’s acts resulting in reverse confusion will cause further

irreparable injury to Plaintiff if Defendant is not restrained by this Court from further

violation of Plaintiff’s rights. Plaintiff has no adequate remedy at law.

                                   Count IV
                       Common Law Service Mark Infringement
      54.      Plaintiff repeats and realleges paragraphs 1 through 33 of this

complaint, as if fully stated here.

      55.      Plaintiff owns all interest in and to the MOJOHOST Mark, including

all common law rights in the MOJOHOST Mark, and the MOJOHOST Mark is

distinctive.

      56.      The above-mentioned acts of Defendant constitutes service mark

infringement in violation of the common law of the state of Michigan.

      57.      On information and belief, Defendant has acted with knowledge of the

MOJOHOST Mark and with the deliberate intention to unfairly benefit from the

incalculable goodwill symbolized by it.

      58.      Defendant has profited from its unlawful actions and has been unjustly

enriched to the detriment of Plaintiff. Defendant’s unlawful actions have caused
Plaintiff monetary damage in an amount presently unknown, but in an amount to be

determined at trial.

      59.      On information and belief, by its acts, Defendant has made and will
make substantial profits and gains to which it is not in law or equity entitled.

      60.      On information and belief, Defendant intends to continue its willfully

infringing acts unless restrained by this Court.

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      61.    Defendant’s acts have damaged and will continue to damage Plaintiff,

and Plaintiff has no adequate remedy under law.

                                 Count V
                        Common Law Unfair Competition
      62.    Plaintiff repeats and realleges paragraphs 1 through 33 of this

complaint, as if fully stated here.

      63.    Defendant’s use of the Infringing Marks in commerce in connection

with its services is intended to cause, has caused, and is likely to continue to cause

confusion, mistake, and deception among the general consuming public and the trade

as to whether the services bearing the Infringing Marks originate from, or are

affiliated with, sponsored by, or endorsed by Plaintiff.

      64.    On information and belief, Plaintiff competes with Defendant for a

common pool of customers.

      65.    On information and belief, Defendant has acted with knowledge of the

MOJOHOST Mark and with the deliberate intent to deceive the general consuming

public and the trade, and to benefit unfairly from the incalculable goodwill

symbolized by the MOJOHOST Mark.
      66.    The above-mentioned acts of Defendant constitutes unfair competition

in violation of the common law of the state of Michigan.

      67.    On information and belief, by its acts, Defendant has made and will
make substantial profits and gains to which it is not in law or equity entitled.

      68.    On information and belief, Defendant intends to continue its willfully

infringing acts unless restrained by this Court.

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      69.    Defendant’s acts have damaged and will continue to damage Plaintiff

and Plaintiff has no adequate remedy under law.

                                   Count VI
                        Michigan Consumer Protection Act
      70.    Plaintiff repeats and realleges paragraphs 1 through 33 of this

complaint, as if fully stated here.

      71.    Defendant’s use of the Infringing Marks in commerce in connection

with its goods and services is intended to cause, has caused, and is likely to continue

to cause confusion, mistake, and deception among the general consuming public and

the trade as to whether the goods and services bearing the Infringing Marks originate

from, or are affiliated with, sponsored by, or endorsed by Plaintiff.

      72.    The aforesaid acts of Defendant constitute a violation of the Michigan

Consumer Protection Act, Mich. Comp. Laws §§ 445.901–445.922.

      73.    On information and belief, Defendant has acted with knowledge of the

MOJOHOST Mark and with the deliberate intention to unfairly benefit from the

incalculable goodwill symbolized by it.

      74.    Defendant has profited from its unlawful actions and has been unjustly
enriched to Plaintiff’s detriment. Defendant’s unlawful actions have caused Plaintiff

monetary damages in an amount presently unknown, but in an amount to be

determined at trial.
      75.    On information and belief, by its acts, Defendant has made and will

make substantial profits and again to which it is not entitled in law or equity.

      76.    Defendant’s intentional and willful conduct has caused, and will

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continue to cause, Plaintiff irreparable harm unless enjoined, and Plaintiff has no

adequate remedy at law.

                                  Prayer for Relief

        Plaintiff EASY ONLINE SOLUTIONS, LTD. d/b/a MojoHost requests judgment

against Defendant MAGEMOJO, LLC as follows:

        1.   That Defendant has violated section 32 of the Lanham Act (15 U.S.C.

§ 1114) and section 43(a) of the Lanham Act (15 U.S.C. § 1125(a)).
        2.   That Defendant has engaged in service mark infringement and unfair

competition under the common law of the state of Michigan and has violated the

Michigan Consumer Protection Act, Mich. Comp. Laws §§ 445.901–445.922.

        3.   Granting an injunction, temporarily, preliminarily, and permanently

enjoining the Defendant, its employees, agents, officers, directors, attorneys,

successors, and affiliates, subsidiaries, and assigns, and all of those in active concert
and participation with any of the foregoing persons and entities who receive actual

notice of the Court’s order by personal service or otherwise from:

        a.   providing, selling, marketing, advertising, promoting, or authorizing

any third party to provide, sell, market, advertise, or promote any services bearing

the mark MOJOHOST or any other mark that is a counterfeit, copy, simulation,

confusingly similar variation, or colorable imitation of Plaintiff’s MOJOHOST

Mark;

        b.   engaging in any activity that infringes Plaintiff’s rights in its

MOJOHOST Mark;

        c.   engaging in any activity constituting unfair competition with Plaintiff;
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      d.     making or displaying any statement, representation, or depiction that is

likely to lead the public or the trade to believe that (i) Defendant’s services are in

any manner approved, endorsed, licensed, sponsored, authorized, or franchised by

or associated, affiliated, or otherwise connected with Plaintiff or (ii) Plaintiff’s

services are in any manner approved, endorsed, licensed, sponsored, authorized, or

franchised by or associated, affiliated, or otherwise connected with Defendant;

      e.     using or authorizing any third party to use in connection with any
business or services any false description, false representation, or false designation

of origin, or any marks, names, words, symbols, devices, or trade dress that falsely

associate that business or services with Plaintiff or tend to do so;

      f.     registering or applying to register any trademark, service mark, domain

name, trade name, or other source identifier or symbol of origin consisting of or

incorporating the mark MOJOHOST or any other mark that infringes or is likely to
be confused with Plaintiff’s MOJOHOST Mark, or any goods or services of Plaintiff,

or Plaintiff as their source; and

      g.     aiding, assisting, or abetting any other individual or entity in doing any

act prohibited by subparagraphs (a) through (f).

      4.     Granting such other and further relief as the Court may deem proper to

prevent the public and trade from deriving the false impression that any goods or

services manufactured, sold, distributed, licensed, marketed, advertised, promoted,

or otherwise offered or circulated by Defendant is in any way approved, endorsed,

licensed, sponsored, authorized, or franchised by or associated, affiliated, or

otherwise connected with Plaintiff or constitute or are connected with Plaintiff’s
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services.

        5.   Directing Defendant to promptly stop all manufacture, display,

distribution, marketing, advertising, promotion, sale, offer for sale, or use of all

packaging, labels, catalogs, shopping bags, containers, advertisements, signs,

displays, and other materials that feature or bear any designation or mark

incorporating the marks MAGEMOJO or MOJO HOST or any other mark that is a

counterfeit, copy, simulation, confusingly similar variation, or colorable imitation of
Plaintiff’s MOJOHOST Mark, and to direct all distributors, retailers, wholesalers,

and other individuals and establishments wherever located in the United States that

distribute, advertise, promote, sell, or offer for sale Defendant’s services to stop

forthwith the display, distribution, marketing, advertising, promotion, sale, or

offering for sale of all goods, services, packaging, labels, catalogs, shopping bags,

containers, advertisements, signs, displays, and other materials featuring or bearing
the marks MAGEMOJO or MOJO HOST or any other mark that is a counterfeit,

copy, simulation, confusingly similar variation, or colorable imitation of the

Plaintiff’s MOJOHOST Mark, and to promptly remove them from public access and

view.

        6.   Directing that Defendant recall and deliver up for destruction or other

disposition all packaging, containers, advertisements, promotions, signs, displays,

and related materials incorporating or bearing the marks MAGEMOJO or MOJO

HOST or any other mark that is a counterfeit, copy, confusingly similar variation, or

colorable imitation of Plaintiff’s MOJOHOST Mark.

        7.   Directing Defendant to formally abandon with prejudice any
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applications to register the mark MAGEMOJO or any mark consisting of,

incorporating, or containing Plaintiff’s MOJOHOST Mark or any counterfeit, copy,

confusingly similar variation, or colorable imitation of it on any state or federal

trademark registry.

       8.    Directing Defendant to cancel with prejudice any registrations for the

mark MAGEMOJO or any mark consisting of, incorporating, or containing

Plaintiff’s MOJOHOST Mark or any counterfeit, copy, confusingly similar
variation, or colorable imitation of it on any state or federal trademark registry.

       9.    Directing, under section 35(a) of the Lanham Act (15 U.S.C. § 1116(a)),

Defendants to file with the court and serve on Plaintiff’s counsel within 30 days after

service on Defendant of an injunction in this action, or that extended period as the

court may direct, a report in writing under oath, stating in detail the manner and form

in which Defendant has complied with the injunction.
       10.   Awarding Plaintiff an amount up to three times the amount of its actual

damages, in accordance with section 35(a) of the Lanham Act (15 U.S.C. § 1117(a)).

       11.   Directing that Defendant account to and pay over to Plaintiff all profits

realized by its wrongful acts in accordance with section 35(a) of the Lanham Act (15

U.S.C. § 1117(a)) and Michigan law, enhanced as appropriate to compensate

Plaintiff for the damages caused by it.

       12.   Awarding Plaintiff its actual damages in accordance with Michigan

law.

       13.   Declaring that this is an exceptional case under section 35(a) of the

Lanham Act and awarding Plaintiff its costs and reasonable attorneys’ fees under
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section 35(a) (15 U.S.C. § 1117(a)).

      14.    Awarding Plaintiff interest, including prejudgment and post-judgment

interest, on the foregoing sums.

      15.    Awarding such other and further relief as the Court deems just and

proper.

                                             Respectfully submitted,

                                             SILVERSTEIN LEGAL
                                       By:   /s/Corey D. Silverstein
                                             COREY D. SILVERSTEIN (P69651)
                                             Attorneys for Plaintiff
                                             30150 Telegraph Road, Suite 444
                                             Bingham Farms, Michigan 48025
                                             (248) 290-0655
Dated: March 7, 2019                         corey@silversteinlegal.com
                             Demand for Jury Trial

      Plaintiff hereby demands a trial by jury as provided by Rule 38(a) of the

Federal Rules of Civil Procedure and by the Local Rules of this Court.

                                             Respectfully submitted,
                                             SILVERSTEIN LEGAL

                                       By:   /s/Corey D. Silverstein
                                             COREY D. SILVERSTEIN (P69651)
                                             Attorneys for Plaintiff
                                             30150 Telegraph Road, Suite 444
                                             Bingham Farms, Michigan 48025
                                             (248) 290-0655
Dated: March 7, 2019                         corey@silversteinlegal.com




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